Opinion issued August 22, 2024




                                     In The

                              Court of Appeals
                                    For The

                          First District of Texas
                            ————————————
                              NO. 01-23-00917-CV
                           ———————————
     ZE RUN, NEW APARTMENT (USA) BUSINESS RESORT
 MANAGEMENT, LTD., HARMONY GROWTH CULTURE MEDIA (US)
             LLC, AND QING QING LI, Appellants
                                       V.
           JUNSHUO XU AND CNUS LINKING LTD., Appellees


                   On Appeal from the 129th District Court
                            Harris County, Texas
                      Trial Court Case No. 2019-42834


                         MEMORANDUM OPINION

      Appellants, Ze Run, New Apartment (USA) Business Resort Management,

Ltd., Harmony Growth Culture Media (US) LLC, and Qing Qing Li, and appellees,

Junshuo Xu and Cnus Linking Ltd., have filed a joint motion to reverse and render,
stating that the parties have settled and to effectuate that settlement, the parties ask

this Court to reverse and render a take-nothing judgment under Rule 42.1(a)(2)(A).

See TEX. R. APP. P. 42.1(a)(2)(A) (permitting appellate court to render judgment in

accordance with settlement agreement). Because this Court lacks a copy of the

settlement agreement, we construe the motion as requesting reversal and remand to

the trial court.

       Construing the parties’ joint motion as a joint motion to reverse and remand,

we grant the motion. We reverse the trial court’s judgment of September 12, 2023

and remand the cause to the trial court to render judgment in accordance with the

parties’ settlement agreement. Any other pending motions are dismissed as moot.

                                   PER CURIAM

Panel consists of Justices Kelly, Landau, and Rivas-Molloy.




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